      Case 1:19-cr-00286-AMD Document 67 Filed 05/08/20 Page 1 of 2 PageID #: 553

GREENBERG TRIAL LAWYERS
ATTORNEYS AT LAW                                         53 WEST JACKSON BOULEVARD, SUITE 1260
                                                                       CHICAGO, ILLINOIS 60604
                                                                                     (312) 879-9500
                                                                                Fax: (312) 650-8244
                                                                          Steve@GreenbergCD.com




     May 8, 2020


     BY ELECTRONIC FILING
     Honorable Ann M. Donnelly
     United States District Court
     Eastern District of New York
     225 Cadman Plaza East
     Brooklyn, New York 11201

           Re:     United States v. Robert Kelly, Case No. 19-286 (S-1)(AMD)


     Dear Judge Donnelly:

     We respectfully submit this letter as an additional Reply in support of the most
     recent request for release from pre-trial detention. We are submitting this
     additional reply solely and exclusively on the issue of obstruction.

     The Second Superseding Indictment contains six alleged victims, all referred to as
     “Jane Doe”. While the number of “Jane Doe’s” has remained consistent at six, at
     least one individual was dropped from the initial indictment, and one added.

     The defense has previously requested that each of them be identified. This Court
     denied that request with respect to Jane Doe’s two and three, meaning to this date
     their identities remain unknown to the defense. (Doc. 38). The government has
     identified a picture of Jane Doe number four, and provided no further information.
     To date, predicated solely upon the picture, the defense has been unable to identify
     who that individual is. This means that the defense, and Mr. Kelly, do not know the
     identity of three of the six Jane Does.

     Jane Doe number one appears to be a deceased individual. The only other
     individual who has spoken or been identified regarding that allegation has been
     actively talking about his appearance before the federal grand jury on social media.
     He has never suggested that anyone has reached out to him on behalf of Mr. Kelly,
     and no-one has.
 Case 1:19-cr-00286-AMD Document 67 Filed 05/08/20 Page 2 of 2 PageID #: 554
-2-

Jane Doe number five is Mr. Kelly's former girlfriend, who contrary to what
typically takes place between victims/witnesses and the accused, was allowed
unfettered access to Mr. Kelly, and, as previously noted in our reply and earlier
pleadings, has not made any suggestion that he obstructed. But to the point for this
additional filing, it would be impossible for Mr. Kelly to engage in any obstructive
behavior regarding this individual. She has, since leaving Mr. Kelly, created a
active, for-profit, social media presence, requesting individuals to subscribe to her
Instagram and YouTube channels, where she regularly speaks of how awful he was.

Yesterday, on a channel she titled
htt s://www. outube.com/channel                                       , at the
approximately 42 minute mark, she takes a Versace winter coat that she stole from
Mr. Kelly and cuts it up, showerin herself in the feather filling. Excerpt here
htt s://www. outube.com/watc                        . It is clear from the audio that
this was a premeditated stunt to gain viewers, with her mother in the background
commenting that they had discussed using a knife and how that would have been
much easier than using scissors. The rest of the video, as well as her others, has
this Jane Doe talking extensively about her relationship with Mr. Kelly and her
status as a victim. She is using her status to promote her brand. Watching all of
this, it is obvious that she long ago rejected any allegiance to Mr. Kelly, could not be
influenced by him or others acting on his b ehalf, and that any idea of a fear of
obstruction here is simple fantasy.

The remaining Jane Doe is number five, who is represented by counsel in relation to
this case as well as a related civil suit she is filed. Mr. Kelly is similarly represented
in that civil suit. She too has an active social media resence, much of which can be
found by searching the twitter hashtag                      . Like Jane Doe number five,
she has created a vast inventory of negative media regarding Mr. Kelly. Like with
Jane Doe number five, any idea that there is a fear of obstruction here is simple
fantasy.

To the extent this court has previously been led to believe that there may be a risk
of obstruction, the fact is that there is no one related to this case who would be the
slightest bit receptive to any overture from the Kelly camp. There is no risk.

We request the Court accept this additional filing.



                                                Respectfully submitted,

                                                 /s/ Steven Greenberg

                                                 /s/ Micheal Leonard

                                                On behalf of Mr. Kelly
